Case 2:17-cv-01298-JCC Document 2-6 Filed 08/28/17 Page 1 of 4




    Exhibit 6
                 Case 2:17-cv-01298-JCC Document 2-6 Filed 08/28/17 Page 2 of 4

                                                                                                 FILED
                                                                                          17 AUG 16 PM 12:04

1
                                                                                         KING COUNTY
                                                                                     SUPERIOR COURT CLERK
2                                                                                           E-FILED
                                                                                  CASE NUMBER: 17-2-14474-6 SEA
3

4

5
                      SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
6
     ANDREA LISTER,                                           )
7                                                             )
                                    Plaintiff,                )   No. 17-2-14474-6 SEA
8                                                             )
            v.                                                )
9                                                             )   NOTICE OF APPEARANCE
                                                              )
10   CITY OF SEATTLE, KING COUNTY, ET. AL,                    )
                                                              )
11                                  Defendants.               )
                                                              )
12                                                            )

13   TO: THE CLERK OF THE COURT

14   AND TO: Plaintiff above named

15          YOU AND EACH OF YOU will please take NOTICE that Senior Deputy Prosecuting

16   Attorney David J. Hackett hereby appears on behalf of defendant King County in the above-

17   entitled action, without waiving the question of:

18          1.       Lack of jurisdiction over the subject matter;
            2.       Lack of jurisdiction over the person;
19          3.       Improper venue;
            4.       Insufficiency of process;
20          5.       Insufficiency of service of process;
            6.       Failure to state a claim upon which relief may be granted;
21          7.       Failure to join a party under Rule 19; and
            8.       Statute(s) of limitation.
22

23

                                                                          Daniel T. Satterberg, Prosecuting Attorney
                                                                          CIVIL DIVISION, Litigation Section
                                                                          900 King County Administration Building
                                                                          500 Fourth Avenue
     NOTICE OF APPEARANCE - 1                                             Seattle, Washington 98104
                                                                          (206) 296-0430 Fax (206) 296-8819
              Case 2:17-cv-01298-JCC Document 2-6 Filed 08/28/17 Page 3 of 4



1           You are hereby further notified that all further papers and pleadings herein, except original

2    process, shall be served upon the undersigned attorney at the address below stated.

3
     Deliver to:
4
     DAVID J. HACKETT
5    CIVIL DIVISION
     500 4th Avenue
6    King County Administration Building, Suite 900
     Seattle, Washington 98104-2316
7

8

9           Dated this 16th day of August, 2017.

10
                                                   DANIEL T. SATTERBERG
11                                                 King County Prosecuting Attorney
12                                                 By: s/ David J. Hackett
                                                   DAVID HACKETT, WSBA #21236
13                                                 Senior Deputy Prosecuting Attorney
14
                                                   Attorneys for Defendant King County
15                                                 King County Prosecuting Attorney’s Office
                                                   500 Fourth Ave., 9th Floor
16                                                 Seattle, WA 98104
                                                   Telephone: (206) 296-8820 / Fax: (206) 296-8819
17
                                                   Email: david.hackett@kingcounty.gov
18

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                                                                         Daniel T. Satterberg, Prosecuting Attorney
                                                                         CIVIL DIVISION, Litigation Section
                                                                         900 King County Administration Building
                                                                         500 Fourth Avenue
     NOTICE OF APPEARANCE - 2                                            Seattle, Washington 98104
                                                                         (206) 296-0430 Fax (206) 296-8819
              Case 2:17-cv-01298-JCC Document 2-6 Filed 08/28/17 Page 4 of 4



1                           DECLARATION OF FILING AND SERVICE

2           I hereby certify that on August 16, 2017, I electronically filed the foregoing document

3    with the Clerk of the Court using the electronic filing system and sent a copy of the same by

4    electronic mail and by First Class United States Mail to the following:

5                                                 Andrea Lister
                                           1728 E. Olive Street, #3-706
6                                              Seattle, WA 98122
                                           todaysgirlfriday@gmail.com
7

8           I declare under penalty of perjury under the laws of the United States and the State of

9    Washington that the foregoing is true and correct.

10
                 DATED this 16th day of August, 2017 at Seattle, Washington.
11

12
                                                  s/ Kris Bridgman
13                                                Kris Bridgman, Paralegal
                                                  King County Prosecuting Attorney's Office
14

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23

                                                                        Daniel T. Satterberg, Prosecuting Attorney
                                                                        CIVIL DIVISION, Litigation Section
                                                                        900 King County Administration Building
                                                                        500 Fourth Avenue
     NOTICE OF APPEARANCE - 3                                           Seattle, Washington 98104
                                                                        (206) 296-0430 Fax (206) 296-8819
